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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

JOHN DOE,                                             )
                                                      )
                       Plaintiff,                     )
v.                                                    )       Case No. 1:18-cv-07429
                                                      )
THE UNIVERSITY OF CHICAGO and                         )
and JANE ROE,                                         )
                                                      )
                       Defendants                     )

                DEFENDANT UNIVERSITY OF CHICAGO’S
UNOPPOSED MOTION FOR ANSWER DEADLINE TO BE HELD IN ABEYANCE PENDING
               THE OUTCOME OF ITS RULE 12(b)(6) MOTION

       Defendant, the University of Chicago (the “University” or “Defendant”), by and through its

attorneys, Husch Blackwell LLP, respectfully request that any deadline by which the University has to

file an answer to Plaintiff’s Complaint be held in abeyance pending the outcome of the Rule 12(b)(6)

motion to dismiss that it intends to file. In support of its Motion, the University states as follows:


       1.      This Court’s minute entry dated December 3, 2018 states that the University’s “[a]nswer

and responsive pleading shall be filed by 1/10/19.” See Doc. No. 12.


       2.      As indicated on this Court’s webpage, Judge Virginia M. Kendall is participating in the

Mandatory Initial Discovery Pilot Project (“MIDP”) for all cases filed on or after June 1, 2017.


       3.      On November 28, 2018, undersigned counsel received a notification from the U.S. District

Court for the Northern District of Illinois of an amendment to the MIDP. A copy of the notification is

attached hereto as Exhibit 1.


       4.      Specifically, the notification of the MIDP amendment provided as follows: “Effective

December 1, 2018, the MIDP will be amended to provide that answers are due under the time periods

established by Rule 12(a). Rule 12(a)(4) provides that answers need not be filed while a Rule 12 motion
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is pending. As a result, answers no longer will be required – and the MIDP response period will not be

triggered – while a motion is pending under Rule 12(b)(6) or any other provision of Rule 12.” See

Exhibit 1.


       5.     Given that the University’s deadline to answer and respond to Plaintiff’s Complaint falls

after the effective date of the aforementioned amendment to the MIDP, the University understands that if

it should choose to file a motion under Rule 12(b), an answer will not be required, and the 30-day period

for the exchange of MIDP responses will not be triggered while that motion is pending.


       6.     On December 18, 2018, counsel for the University conferred with counsel for Plaintiff by

phone to communicate the substance of this Motion. Counsel for Plaintiff confirmed on December 19,

2018 that he does not oppose this Motion.


       7.     Accordingly, the University requests that the Court hold in abeyance the University’s

deadline to file an answer pending the resolution of the Rule 12(b)(6) motion that the University intends

file, which motion will be filed on or before the January 10, 2019 deadline set by this Court. See Doc.

12.


       WHEREFORE, for the reasons stated above, the University respectfully requests that its answer

deadline be held in abeyance as requested above.




Dated: December 19, 2018                    Respectfully submitted,
                                            HUSCH BLACKWELL LLP

                                            By:    /s/ Katelan Little
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that she caused a copy of the foregoing Defendant

University of Chicago’s Unopposed Motion for Answer Deadline to be Held in Abeyance Pending

the Outcome of Its Rule 12(b)(6) Motion to Dismiss to be served on the attorney of record listed below

by filing the foregoing electronically using the CM/ECF filing system on this 19th day of December,

2018.

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                                                   /s/ Katelan Little
                                            Attorney for Defendant University of Chicago
